                               1:21-cv-01001-JES # 5                Page 1 of 1
                                                                                                                             E-FILED
                                                                                     Monday, 04 January, 2021 02:31:13 PM
                                                                                             Clerk, U.S. District Court, ILCD



                                UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF ILLINOIS
                                            OFFICE OF THE CLERK
                                                TEL: 217.492.4020
                                                FAX: 217.492.4028



                                               January 4, 2021

Pontiac Correctional Center
Attn: Trust Fund Office
Re: Span v. Pratt et al
Case No.: 21-1001

Dear Trust Fund Department:

The Clerk of the Court recently received a complaint and a petition to proceed in forma pauperis
from Mr. Samuel Span (R12605). In order for the Court to determine whether he is entitled to
proceed in forma pauperis, the Court must review his trust fund ledgers for the six months
immediately preceding receipt of his complaint. Therefore, the Clerk of the Court respectfully
requests that you provide to the Court a copy of Mr. Samuel Span’s trust fund ledgers for the
period of J u l y 1 , 2 0 2 0 through January 4, 2021, within fourteen days of the date of this
letter. Please mail or fax the trust fund ledgers to:

                   United States District Court
                   Central District of Illinois
                   201 S . Vine Street
                   Urban a, IL 6180 2
                   FAX: 217-373-5834

Please refer to the above referenced case number when submitting the trust fund ledgers. Thank
you.

                                                             Sincerely,
                                                             s/ Shig Yasunaga
                                                             Shig Yasunaga
                                                             Clerk, U.S. District Court

cc: Inmate


                                                                                             Rock Island Division
    Peoria Division              Urbana Division             Springfield Division
                                                                                            (Temporarily relocated for mail and
    100 N.E. Monroe St.          201 S. Vine St.             600 E. Monroe St.
                                                                                            hearings to):
    Room 305                     Room 218                    Room 151
    Peoria, IL 61602             Urbana, IL 61802            Springfield, IL 62701          131 E. 4th Street, Rm 250
    309.671.7117                 217.373.5830                217.492.4020                   Davenport, IA 52801 309.793.5778
